826 F.2d 1064
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Dennis Lee MAXBERRY, Plaintiff-Appellant,v.Myron FRIDMAN, Ph.D.; Martin Fritzman, M.D., Defendants-Appellees.
    No. 87-3336
    United States Court of Appeals, Sixth Circuit.
    Aug. 10, 1987.
    
      ORDER
      Before ENGEL, KRUPANSKY and NELSON, Circuit Judges.
    
    
      1
      This pro se plaintiff seeks review of a judgment of the district court which dismissed his civil rights action filed pursuant to 42 U.S.C. Sec. 1983.  Upon examination of the record and plaintiff's brief, the panel agrees unanimously that oral argument is not needed.  Rule 34(a), Federal Rules of Appellate Procedure.
    
    
      2
      For the reasons stated in the district court's order, its final judgment entered March 18, 1987, is hereby affirmed.  Rule 9(b)(5), Rules of the Sixth Circuit.
    
    